Case 1:07-cv-00960-CMH-JFA Document 978 Filed 12/13/17 Page 1 of 7 PageID# 32965


                                                                             740
    1                      UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
    2                           ALEXANDRIA DIVISION

    3
        UNITED STATES OF AMERICA,      )
    4   EX REL. JON H. OBERG           )
                                       )
    5        VS.                       )       1:07-CV-960     CMH/JFA
                                       )
    6                                  )       ALEXANDRIA, VIRGINIA
                                       )         December 5, 2017
    7   PENNSYLVANIA HIGHER EDUCATION )
        ASSISTANCE AGENCY              )
    8   _______________________________)

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  14                            TRANSCRIPT OF TRIAL
                        BEFORE THE HONORABLE CLAUDE M. HILTON
  15                        UNITED STATES DISTRICT JUDGE
                                    AND A JURY
  16
                               VERDICT - VOLUME 5
  17    ______________________________________________________________

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  24    Proceedings reported by stenotype, transcript produced by

  25    Tonia M. Harris.


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                                 12/5/2017 - VOL. 5
Case 1:07-cv-00960-CMH-JFA Document 978 Filed 12/13/17 Page 2 of 7 PageID# 32966


                                                                             741
    1                          A P P E A R A N C E S

    2   FOR THE RELATOR, DR. JON H. OBERG:
             WILEY REIN LLP
    3        By: MR. BERT W. REIN
             MR. MICHAEL L. STURM
    4        MR. CHRISTOPHER M. MILLS
             MR. STEPHEN J. OBERMEIER
    5        MS. REBECCA L. SAITTA
             MR. MATTHEW J. GARDNER
    6        MR. SAVERIO S. ROMEO
             MR. SHANE B. KELLY
    7        1776 K Street, NW
             Washington, D.C. 20006
    8        202.719.7000
             brein@wileyrein.com
    9        msturm@wileyrein.com
             cmills@wileyrein.com
  10         rsaitta@wileyrein.com
             mgardner@wileyrein.com
  11
        FOR THE DEFENDANT:
  12         THE OFFICE OF CRAIG C. REILLY, ESQ.
             By: MR. CRAIG C. REILLY
  13         111 Oronoco Street
             Alexandria, Virginia 22314
  14         703.549.5354
             craig.reilly@ccreillylaw.com
  15
             KIRKLAND & ELLIS LLP
  16         By: MR. MATTHEW T. REGAN
             300 North LaSalle
  17         Chicago, Illinois 60654
             312.862.2000
  18         mregan@kirkland.com

  19         KIRKLAND & ELLIS LLP
             By: MR. MICHAEL A. GLICK
  20         MS. TRACIE L. BRYANT
             MR. THOMAS P. WEIR
  21         MR. TERENCE J. MCCARRICK, JR.
             655 Fifteenth Street, NW
  22         Washington, D.C. 20005
             202.879.5000
  23         michael.glick@kirkland.com
             tracie.bryant@kirkland.com
  24         tom.weir@kirkland.com
             terence.mccarrick@kirkland.com
  25


                                       Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                                 12/5/2017 - VOL. 5
Case 1:07-cv-00960-CMH-JFA Document 978 Filed 12/13/17 Page 3 of 7 PageID# 32967


                                                                             742
    1                    A P P E A R A N C E S (Continued)

    2
             STEVENS & LEE, P.C.
    3        By: MR. DANIEL B. HUYETT
             111 North Sixth Street
    4        P.O. Box 679
             Reading, Pennsylvania 19603
    5        610.478.2000
             dbh@stevenslee.com
    6
             STEVENS & LEE, P.C.
    7        By: MR. NEIL C. SCHUR
             1818 Market Street
    8        29th Floor
             Philadelphia, Pennsylvania       19103
    9        215.751.1944
             ncsc@stevenslee.com
  10

  11

  12

  13

  14    OFFICIAL U.S. COURT REPORTER:
             MS. TONIA M. HARRIS, RPR
  15         United States District Court
             401 Courthouse Square
  16         Alexandria, Virginia 22314
             703.646.1438
  17

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                                 12/5/2017 - VOL. 5
Case 1:07-cv-00960-CMH-JFA Document 978 Filed 12/13/17 Page 4 of 7 PageID# 32968


                                                                             743
    1                                    INDEX

    2   (DECEMBER 5, 2017 ~ DAY 5)

    3                                                                    PAGE

    4   Verdict................................................. 005

    5

    6   Court Reporter Certification............................ 007

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                                       Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                                 12/5/2017 - VOL. 5
Case 1:07-cv-00960-CMH-JFA Document 978 Filed 12/13/17 Page 5 of 7 PageID# 32969

        Verdict
                                                                              744
    1                           P R O C E E D I N G S

    2

    3              THE COURT:    Good morning.

    4              THE PARTIES:    Good morning.

    5              THE COURT:    Bring in the jury.

    6              (Jury present.)

    7              THE COURT:    Mr. Foreman, has the jury reached a

    8   verdict?

    9              THE FOREPERSON: Yes, we have.

  10               THE COURT:    Please give it to the marshal.

  11               All right.    You all may have a seat.

  12               THE DEPUTY CLERK:     Civil Action 2007-960.      United

  13    States of America, ex rel. John Oberg versus Pennsylvania

  14    Higher Education Assistance Agency, we the jury find in the

  15    favor of the defendant.     Signed by the foreperson.       Dated,

  16    December 5, 2017.

  17               Ladies and gentlemen of the jury, is this your

  18    unanimous verdict?

  19               THE JURY:    Yes, it is.

  20               THE COURT:    I thank you very much for your service

  21    in this case.    You're excused until you're next scheduled to

  22    appear.

  23               (Jury dismissed.)

  24               THE COURT:    All right.    The judgment will be entered

  25    on the verdict.    I've already entered a verdict for you all.


                                       Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                                  12/5/2017 - VOL. 5
Case 1:07-cv-00960-CMH-JFA Document 978 Filed 12/13/17 Page 6 of 7 PageID# 32970

        Verdict
                                                                             745
    1   Take your exhibits back, if you will.        Thank you and we'll

    2   adjourn until tomorrow morning at 9:30.

    3

    4                 (Proceedings adjourned at 10:58 a.m.)

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                                       Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                                 12/5/2017 - VOL. 5
Case 1:07-cv-00960-CMH-JFA Document 978 Filed 12/13/17 Page 7 of 7 PageID# 32971

        Verdict
                                                                             746
    1   UNITED STATES DISTRICT COURT       )

    2   EASTERN DISTRICT OF VIRGINIA       )

    3

    4             We, TONIA M. HARRIS, Official Court Reporter for the

    5   United States District Court, Eastern District of Virginia, do

    6   hereby certify that the foregoing is a correct transcript from

    7   the record of proceedings in the above matter, to the best of

    8   our ability.

    9             We further certify that we are neither counsel for,

  10    related to, nor employed by any of the parties to the action

  11    in which this proceeding was taken, and further that we are

  12    not financially nor otherwise interested in the outcome of the

  13    action.

  14              Certified to by us this 7TH day of DECEMBER, 2017.

  15

  16                                    __/s/_______________________
                                        TONIA M. HARRIS, RPR
  17                                    Official U.S. Court Reporter
                                        401 Courthouse Square
  18                                    Ninth Floor
                                        Alexandria, Virginia 22314
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  23

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                                       Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                                 12/5/2017 - VOL. 5
